         Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 1 of 17




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                                   Case No.
                    v.
                                                   VIOLATIONS:
                                                   18 U.S.C. § 875(d)
 CAMERON CURRY,
                                                   (Interstate Communications with Intent to
 a/k/a "Loot,"
                                                   Extort)
                    Defendant.

                     AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                                 AND ARREST WARRANT

        I, Mustafa Kutlu, being first duly sworn, hereby depose and state as follows:

                                        INTRODUCTION

        1.      I make this affidavit in support of an application for a criminal complaint charging

Cameron Curry (hereinafter “CURRY”). There is probable cause to believe that CURRY

committed multiple violations of 18 U.S.C. § 875(d), using interstate communications with the

intent to extort.


                                    AGENT BACKGROUND

        2.      I am currently employed as a Special Agent with the FBI. I have been in this

position since September 2018. I am currently assigned to the Major Cyber Crimes Squad at the

FBI Washington Field Office (WFO), where I investigate computer-related crimes. Prior to joining

the FBI, I spent about twelve years as a software and technology consultant specializing in

information management, electronic discovery, digital investigations, and computer forensics. I

hold a bachelor’s degree in information systems from Carnegie Mellon University.

        3.      As a Special Agent of the FBI, I am an “investigator or law enforcement officer of

the United States” within the meaning of 18 USC. § 2510(7), that is, an officer of the United States
        Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 2 of 17




who is empowered by law to conduct investigations of and to make arrests for offenses enumerated

in 18 U.S.C. § 2516

       4.      The facts set forth in this affidavit are based on information that I have obtained

from my personal involvement in this investigation and from other law enforcement officers and

analysts who have been involved in this investigation, on documents that I have reviewed, and on

my training and experience. Because this affidavit is being submitted for a limited purpose, I have

not set forth all the information known to me concerning this investigation. Instead, I have set forth

information that I believe to be sufficient to establish probable cause in support of this application

for a criminal complaint and an arrest warrant. Where I have reported statements made by others,

or from documents that I have reviewed, those statements are reported in substance and in part,

unless otherwise indicated.

                      STATUTORY BACKGROUND OF VIOLATIONS

       5.      Title 18 U.S.C. Section 875(d), criminalizes “whoever, with intent to extort from

any person, firm, association, or corporation, any money or other thing of value, transmits in

interstate or foreign commerce any communication containing any threat to injure the property or

reputation of the addressee or of another or the reputation of a deceased person or any threat to

accuse the addressee or any other person of a crime.”

                                       PROBABLE CAUSE

       6.      On December 14, 2023, the VICTIM notified the FBI of a potential cyber incident.

Specifically, the VICTIM told the FBI that unidentified individual(s), calling themselves “Loot”

(hereinafter “SUBJECT”), sent anonymous email messages to the VICTIM indicating SUBJECT

had possession of sensitive financial records and personally identifiable information (PII) of

VICTIM’s employees. The email messages threatened to disclose the information unless a

payment was made to the SUBJECT.
       Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 3 of 17




       7.       On December 11, 2023, certain employees of VICTIM received an email message

with the title “LOOT DATA LEAK(DOCUSIGN AGREEMENT ATTACHED)” from email

account lootsoftware@outlook.com (hereinafter “SUBJECT EMAIL ACCOUNT”). The email

message contained the following:

       “To whom it may concern,

               I am the founder of a company called Loot. We have recently partnered with
       your company to implement salary transparency within your organization. As you
       roll out Salary Statements for 2024, we would like to share your organization's
       salaries with everyone in the company. Salary transparency is crucial as the cost of
       living rises. Loot and our partners aim to ensure that everyone is being paid
       accordingly, providing employees with the leverage they deserve while also
       adhering to federal government regulations on protected acts.

               Please sign the documents sent through DocuSign, which is linked to this
       email. The pricing is firm and will not be negotiated. Late responses, no responses,
       or negotiations of the lump sum payment will result in the automatic publication of
       the site and distribution of files to your organization. Let's kick start salary
       transparency!

                Attached, you will find an introduction, a DocuSign settlement that you will
       also get in another email to sign, the organization's sample email that will be sent
       to all of your employees if we do not come to an agreement, and proof that we have
       all your company information. Once the documentation is sent, we will then
       provide routing information. DocuSign passwords are your employee ID numbers.
       Once everything is signed and sent back, I will send you back my signature as well
       as proof of deletion of all company records which is also in the agreement.

       Thanks,

       Loot”


       8.       The December 11, 2023 email message included five attachments: three PDF files

and   two      image   files.   The   PDF    file   names     were    “Loot_Introduction_12_12,”

“Org_Sample_Email_12_12,” and “CONFIDENTIAL SETTLEMENT AGREEMENT AND

GENERAL RELEASE.pdf.” The image files attached to the email contained screenshot images
        Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 4 of 17




from spreadsheets that appear to contain PII of employees of the VICTIM, to include, name, date

of birth, home address, and compensation information, among others.

       9.     The PDF file named “Loot_Introduction_12_12” appeared to be a message

addressed to the General Counsel of the VICTIM. It contained a logo with the word “LOOT” and

was dated “Dec 12, 2023”. The message stated:

       “To Whom It May Concern:

       I am the founder of Loot, this email pertains to the matter mentioned above, and I
       formally request the preservation of all documents related to this issue in
       accordance with the Federal Rules of Civil Procedure, Rule 37. Further
       correspondence regarding this matter should be directed to my personal email at
       lootsoftware@outlook.com.

       We have large file sizes of your encrypted data that contains your employee’s salary
       information, merit increases, promotions, department budgets, all employee emails
       and more.

       Loot is similar to platforms such as https://www.glassdoor.com/Salaries/index.htm
       and levels.fyi, allows for anonymous sharing of total compensation information
       based on job titles. Which are very similar to the tool I created and now own rights
       to as well as security packages that will allow your company data to stay safe and
       protected. You can find a list of Data Privacy recommendations attached in this
       email.

       For legal matters, I propose utilizing DocuSign for handling documentation. I trust
       that an amicable resolution for both parties can be reached within the next three (3)
       business days. You can reach me via email at lootsoftware@outlook.com for all
       questions. Any form of negotiation or no response within the 3 days will opt you
       out of the agreement and we will send all employee information out to each
       employee in your org and they will see everyone salary creating a hostile work
       environment, retention issues or the company failing if you have to adjust half your
       org salaries right before merit increase come out.”

       10.    The PDF file named “CONFIDENTIAL SETTLEMENT AGREEMENT AND

GENERAL RELEASE.pdf” contained the date “December 12, 2023” at the top. In a paragraph

titled “2. Release and General Waiver”, it stated “In consideration of the payment of $2,500,000

USD (Two Million Five Hundred Thousand), as detailed in Section 5 below, Loot hereby releases

and forever discharges [VICTIM], along with its officers, directors, employees, and agents, from
          Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 5 of 17




any and all claims, liabilities, demands, actions, causes of action, costs, and expenses, whether at

law or in equity, known or unknown, arising out of or in connection with the creation and

distribution of Loot”. In a paragraph titled “5. Lump Sum Payment”, it stated “The Company

agrees to make a lump sum payment of $2,500,000 to Loot”.

          11.       On December 13, 2023, an email message with the title “(URGENT)24 HOURS

TO RESPOND! [VICTIM] DATA” was sent to certain employees of VICTIM. The message

stated:

          “Hello,

          This is Loot, a company that enables employees to access full pay transparency
          within the organization. Currently, we maintain all financial records for the
          company and will disclose them if an agreement is not reached. Should you have
          any questions, please feel free to reach out before the deadline. We will send out
          salary emails to ensure that everyone is aware of their expected compensation.
          Additionally, we will provide instructions on how to address pay discrimination
          through mediation without the need for legal representation through the EEOC or
          start a class action suit for them. Please find attached screenshot of our website that
          we will post documents for a subscription price your employees will more than
          likely pay for to access lots of documents.

          Attached is your legal team's salary information only one person is getting paid a
          bonus when most people in the company who do high professional position do. Lets
          kick start salary transparency!
          Negotiations are on the table for the next 24 hours. Price is firm, contract details
          are negotiable.

          Thank you,
          Loot”
          12.       On December 18, 2023 an email message with the title “NEW SEC LAW!

REPORT BREACH OR WE WILL!” was sent to certain employees of VICTIM. The message

stated:

          “Hello,
                  On December 18th, 2023, a new SEC law is in effect. If you fail to comply
          with the law and not report a data breach, as mandated by the law, you will be
          anonymously reported to the SEC IMMEDIATELY. This information will now be
          public to your shareholders therefore negotiations are allowed for now since there
       Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 6 of 17




       will be damage to the company if we report and we would like to prevent that with
       an agreement. Please report or negotiate otherwise, this will be made public through
       the SEC IMMEDIATELY, impacting your stocks & company once we have
       someone anonymously report you to the SEC.
              New SEC law On December 18th, 2023 the Securities and Exchange
       Commission requires registrants to disclose on the new Item 1.05 of Form 8-K any
       cybersecurity incident they determine to be material and to describe the material
       aspects of the incident's nature, scope, and timing, as well as its material impact or
       reasonably likely material impact on the registrant.
               REPORT BREACH OR YOU WILL BE REPORTED ANONYMUSLY
       OR MAKE AN AGREEMENT SO YOUR STOCKS WON'T GET SHORTENED
       AND KEEP YOUR DATA CONFIDENTIAL!
               MAKE SURE BREACH IS DETAILED IF YOU REPORT TO SEC OR
       WE WILL LIST ALL THE DETAILS TO SEC IF NO AGREEMENT IS MET!”
               WE WILL ALSO ADD [VICTIM] INTO THIS SEC REPORTING IF AN
       AGREEMENT IS NOT MET!”

       13.    On December 28, 2023, an email message with the title “EMPLOYEES WILL

KNOW EVERYONE PAY!” sent to certain employees of the VICTIM. The message contained

an embedded image of what appeared to be a spreadsheet containing employee names, job titles,

and compensation information. The message stated:

       “As we have not received a response, we will commence the process of
       disseminating salary information starting January 1,2024 in phases to all employees
       and will report you to the SEC after for not reporting the breach. Initially, the first
       salary information will be sent via LinkedIn and email to each Vice President (VP)
       and Senior Vice President (SVP), along with your Senior and Principal members
       of the technical team first. Subsequently, in the following month, we will extend
       this process to Software Engineers it will not go out all at one time and continue
       gradually just in case you want to buy your data back if things start have a negative
       impact on the company.

       If you wish to reclaim your data, we recommend doing so promptly at 2.5 million
       USD in order to save your company and stocks, as each subsequent month will
       incur a $100,000 USD increase. Discrepancies in your books are currently over 16
       million USD, posing a potential risk for retention issues, a hostile work
       environment, resentment, and more.

       Kindly be aware that we will provide each employee our contact information should
       they choose to pursue legal action or join a class-action lawsuit we will set up an
       EEOC interview for each employee who chooses to do so. We strongly advise
        Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 7 of 17




       employees to consider exploring new job opportunities and, especially for
       underpaid women, to participate in a class-action suit.

       Thanks,

       Loot”

The FBI inquired of the VICTIM about the authenticity of the data displayed in the images

sent by the SUBJECT. The VICTIM affirmed the authenticity of the data and indicated it

came from a file named 2023MeritRollup_Merit&Bonus.xlsx that was downloaded on

December 5, 2023 to CURRY’s corporate laptop provided by the VICTIM.


       14.     As a result of the SUBJECT’s emails, VICTIM initiated cybersecurity incident

response procedures. VICTIM is conducting a review of network security logs and other analyses

of devices and infrastructure to determine how the SUBJECT accessed and exfiltrated the sensitive

data. The investigation into the method and extent of a possible network security breach is ongoing.

       15.     On January 9, 2014, the SUBJECT sent an email message and demanded a smaller

payment to be sent to the Bitcoin (BTC) address “33Dh8QFYdYH6Dcfauwu2YR4neuyriaqfcF”

(hereinafter the “33Dh wallet”). The message stated:

       “We are pleased to come to an agreement and want you to know your data will not
       be going out any further once the below is met. �
       We would like the payment to be sent through Bitcoin instead here is the Bitcoin
       address - 33Dh8QFYdYH6Dcfauwu2YR4neuyriaqfcF

       The data will be deleted once a nice counter offer is paid. It should be no less than
       1.5 million with maybe an additional 100k - 200k scraped off due to the 6 additional
       people that went out. If not 3 people will be sent their manager negative comments
       with the manager CC in the email. $2,500 test payment should be made today
       January 9, 2024. And the Counter offer payment should be made within 7 - 10
       business days starting January 9, 2024.

       Once payment is sent, we will send conformation of all files being deleted through
       screen recordings and videos while also recording us flushing the flash drive away
       and handing over some serious business recommendation to protect your company
       I mean serious business recommendations since this is your 2nd breach within 1
       year. We do not want this to happen again.
          Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 8 of 17




          Thanks,

          Loot”

          16.     On January 9, 2024, the VICTIM informed the FBI that they submitted a payment

to the SUBJECT in Bitcoin. The total value of the payment at the time was approximately

$2500.00          USD.       The      transaction     hash      of      the      payment       was

“ccc45f2ed48b6d40f2c100360df67983af57d877c13d967a0b47e40981a271e8”.

          17.     Since December 11, 2023, the VICTIM has received over 60 email messages from

SUBJECT EMAIL ACCOUNT. Many of the messages contain deadlines for the VICTIM to

respond or suffer the consequences of SUBJECT disclosing the data. On January 22, 2024,

SUBJECT sent an email message containing another deadline for payment by the VICTIM by

5PM EST on January 23, 2024.

                                       Attribution of CURRY

          18.     The investigative team received copies of the email messages and attachments sent

by the SUBJECT. The investigative team analyzed the metadata of the PDF file attachments

named “Loot_Introduction_12_12” and “CONFIDENTIAL SETTLEMENT AGREEMENT

AND GENERAL RELEASE.pdf”. The investigative team observed that both files were created

on “12/11/2023” by “Cameron Curry.”

          19.     The FBI determined, through investigative methods, that the 33Dh wallet is

associated with the cryptocurrency exchange platform Coinbase. On January 16, 2024, the

investigative team obtained legal process for the subscriber records associated with the 33Dh

wallet.

          20.     The subscriber records listed “Cameron Curry” as the owner of the 33Dh wallet

serviced by Coinbase. The account registrant information is:
        Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 9 of 17




       Name: Cameron Curry
       Email: ccameron332@gmail.com
       Created: January 8, 2024 11:24am PST
       Birthdate: 10/10/1998
       Driver’s License: 3835134
       Phone Number: 919-748-9707

The phone number provided to Coinbase required verification by the account owner and was

verified. Additionally, the 33Dh wallet account was validated through a North Carolina driver’s

license to comply with the company’s know-your-customer process. The Coinbase return

contained three image files that contained pictures of the front side of a North Carolina driver’s

license. The picture on the driver license was of a black male with facial hair and short hair. The

North Carolina driver’s license displayed the following information:


       DLN: 000038385134
       DOB: 10/10/1998
       EXP: 10/10/2027
       Cameron Nicholas Curry
       5805 Waterford Landing Ct Raleigh, NC 27610-6324

       21.     Analysis of linked payment cards in the Coinbase return showed that there were

three separate debit accounts linked to the Coinbase account: a debit account ending in 6657 under

CURRY, a debit account ending in 6657 under a “Theresa Curry”, and a debit account ending in

7704 under a “Morgan Curry.” It appeared that the check digit verification for the first two

accounts, both ending in 6657, failed. However, the verification for the account ending in 7704

under “Morgan Curry” succeeded. According to the information that Coinbase provided, a check

digit verification requires two small deposits to a customer's bank account. Customers must verify

the deposit amounts on Coinbase app or web page.

       22.     A public records checks conducted via an investigative database listed Morgan

Curry, date of birth 02/27/1992, as a first-degree relative of CURRY.
       Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 10 of 17




       23.      The investigative team reviewed transaction records in the Coinbase return which

revealed on January 9, 2024, the account received a payment of about 0.05338064 BTC or about

$2478.8            US         Dollars.         The           transaction        hash          was

“ccc45f2ed48b6d40f2c100360df67983af57d877c13d967a0b47e40981a271e8”, the same as the

transaction hash the VICTIM provided to the FBI, after making the test payment to SUBJECT on

January 9, 2024.

       24.      Further review of the Coinbase transaction records showed that on January 9, 2024,

a withdrawal from the 33Dh wallet to the debit account ending 7704 occurred. The withdrawal

amount was $2419.4. As stated above, the debit account ending in 7704 was associated with

Morgan Curry.

       25.      A review of the login records in the Coinbase return showed that the account was

created on January 8, 2024, from an IP address that resolved to an AT&T cable/DSL connection

based in Charlotte, North Carolina. The account was last accessed on January 14, 2024, from an

IP address that also resolved to an AT&T cable/DSL connection based in Charlotte, North

Carolina. Furthermore, between January 8, 2024 and January 10, 2024, the account was accessed

using EXPRESSVPN, a virtual private network (VPN) service. Based upon my training and

experience, I know that cyber actors often use VPNs to obscure their true IP address.

       26.      An analysis of the metadata associated with the Coinbase login records show from

January 8, 2024 to January 10, 2024, the Coinbase account was accessed multiple times via an

Apple iPhone 15 device.

       27.      On January 17, 2024 the investigative team obtained legal process on the SUBJECT

EMAIL ACCOUNT. The return for the email account contained 151 email messages, three text

files, two Microsoft Excel spreadsheets, and one CSV file.
       Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 11 of 17




       28.      Based on the information that Microsoft provided, the email account was created

on December 11, 2023, at or around 8:45 PM Eastern Standard Time (EST). It was last accessed

on January 17, 2024, at or around 10:10 AM EST, from an IP address that resolved to an AT&T

cable/DSL connection based in Charlotte, North Carolina.

       29.      On December 11, 2023, SUBJECT EMAIL ACCOUNT received an email message

from EXPRESSVPN, info@info.expressvpn.com. The message included the following text:

       “Hi Cameron,

       Thanks for signing up! Now you can set up ExpressVPN on your computer, phone,
       tablet, and other devices to start enjoying online freedom

       Your account details
       PLAN
       1 month

       PRICE
       12.95

       PAYMENT METHOD
       Credit Card

       SUBSCRIPTION EXPIRES ON
       12 Jan 2024”

       30.      On December 11, 2023, the SUBJECT EMAIL ACCOUNT received an email

message      with   the   title   “Hey”   from   “Cameron   Curry”   with   the   email   address

ccameron332@gmail.com. The body of the email message included the text “Hey.”.

       31.      On December 17, 2023, the SUBJECT EMAIL ACCOUNT received an email

message with the title “Microsoft account security info was added” from “Microsoft account team”

with the email address “account-security-noreply@accountprotection.microsoft.com”. The

message stated:

       “Microsoft account
       Security info was added
       Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 12 of 17




       The following security info was recently added to the Microsoft account
       [SUBJECT EMAIL ACCOUNT]:
       ccameron3321@gmail.com
       If this was you, then you can safely ignore this email.

       If this wasn't you, a malicious user has access to your account. Please review your
       recent activity and we'll help you secure your account.”


Based on my knowledge, training and experience, your affiant believes that email messages like

the one referenced here get automatically created when a user adds another email address as a

recovery email address. Therefore, your affiant believes that the SUBJECT added the email

account “ccameron3321@gmail.com” as a recovery email account for SUBJECT EMAIL

ACCOUNT.


       32.    On December 9, 2024, the SUBJECT EMAIL ACCOUNT replied to an email

message that the VICTIM sent earlier on the same day. Based on the analysis of the contents of

the message and timestamps, the exchange took place after the VICTIM made the aforementioned

payment of about $2,500 USD to the SUBJECT. The email exchange was as follows:

       SUBJECT EMAIL ACCOUNT to VICTIM:

       “We have received payment thank you. We would like to ask what is your counter
       offer?”

       VICTIM to SUBJECT EMAIL ACCOUNT:

       “Loot –

       The company is prepared to offer you $1.3 million in exchange for your providing
       proof of deletion and an explanation of how you came into possession of the data.
       Obtaining this large an amount of cryptocurrency will take some time, but we
       anticipate being able to make payment within 10 business days.

       This offer is non-negotiable. Please confirm if you agree and if so please provide
       the BTC address where you want payment to be sent.
       Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 13 of 17




        While payment is pending, it is imperative that you continue to show that you can
       be trusted. If you send any further emails to the company’s employees or leak any
       further data, the deal will be off the table. Also, if you attempt to change the terms
       of the deal after we have an agreement, the deal will be off the table.”

       SUBJECT EMAIL ACCOUNT TO VICTIM:

       “We agree and accept your offer. NO DATA WILL EVER BE RELEASED.
       Everything will be deleted with proof and explanation will be sent before payment
       is made.

       Thank You!”

       33.     On January 2, 2024, the VICTIM, via their legal counsel, indicated to the FBI that

they believed CURRY, a former contract employee of the VICTIM, could be associated with the

SUBJECT. The VICTIM provided information to the FBI explaining that on August 10, 2023, the

VICTIM retained CURRY as a contract Data Analyst through a recruitment consultancy

(hereinafter “COMPANY-2”). He started work with the VICTIM on August 21, 2023. His

contract was expected to last six months. As part of his official duties, CURRY had access to files

that contained employee and payroll information, to include base pay, total target compensation,

benefits, and performance analysis information for all 800+ VICTIM employees.

       34.     On December 5, 2023, the VICTIM informed COMPANY-2 that CURRY’s last

day of employment would be December 15, 2023, before the end of the 6-month period. On

December 6, 2023, a COMPANY-2 representative informed the VICTIM that CURRY was in

Charlotte, North Carolina and that CURRY stated he was relocating there.             COMPANY-2

representative confirmed that CURRY would mail back his laptop. On December 7, 2023, CURRY

was reported missing from work. VICTIM decided to end CURRY’s employment as of Friday,

December 8, 2023.

       35.     The VICTIM, through COMPANY-2, provided copies of email messages and other

documents CURRY created during his employment. For example, on December 8, 2023, CURRY,
       Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 14 of 17




using the email address “ccameron332@gmail.com”, sent an email message to a COMPANY-2

representative and stated “I am unable to access my VICTIM email but I work 40 hours the week

ending in 12-10-2023. Thanks and have a greet weekend!”. Additionally, your affiant viewed a

copy of CURRY’s professional resume that the VICTIM provided to the FBI. The email address

“ccameron332@gmail.com” and phone number “919-748-9707” were listed in the header section

as contact information for CURRY. The email address on CURRY’s resume is the same as the

recovery account for the SUBJECT EMAIL ACCOUNT and registrant contact information for the

Coinbase 33Dh wallet account. The telephone number is the same as the verified number listed

for the registrant of the 33Dh wallet account serviced by Coinbase. The SUBJECT EMAIL

ACCOUNT, Coinbase wallet used for a test ransom payment, and CURRY all share the same

contact and registrant information.

       36.     On or about January 20, 2024, the investigative team obtained legal process from

Verizon Wireless for cellular data from CURRY’s cellular telephone with the number 919-748-

9707. On or about the same date, Verizon started providing the FBI near real-time location data

from CURRY’s cellular telephone. The data showed the approximate location of CURRY’s

cellular device in relation to cellular telephone towers near the cellular device. On January 22,

2024, FBI agents analyzed the location data and determined that the pings placed the cellular

telephone in the Wedgewood neighborhood in Charlotte, North Carolina. The FBI began searching

the neighborhood for CURRY’s vehicle. The FBI identified CURRY’s vehicle parked outside of

a residential apartment building located at 7206 Finn Hall Ave in Charlotte, North Carolina, 28216.

Upon contact with the property management company, they confirmed CURRY’s presence in the

building.
       Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 15 of 17




       37.    On January 23, 2024, the investigative team obtained legal process from FINN

HALL MULTIFAMILY PARTNERS, LLC. The return provided Cameron Curry as a lease holder

in apartment 07-206, located at 7206 Finn Hall Avenue in Charlotte, North Carolina 28216. On

January 23, 2024 the investigative team obtained search warrants, issued by Magistrate Judge

Carleton Metcalf in the Western District of North Carolina, for CURRY’s apartment, vehicle, and

person to search and seize digital devices containing evidence of CURRY’s criminal conduct.

       38.    On January 24, 2024, at or about 09:20 AM EST, Special Agents with the FBI

arrived at the apartment building where CURRY’s apartment was located. At or about 11:55 AM

EST, Special Agents, while positioned in the parking lot adjacent to the building, spotted CURRY

on to the balcony of his apartment. Agents asked CURRY to come down to have a conversation.

CURRY asked the Agents “Me?”, and one of the Agents replied “You”. CURRY did not say

anything else and walked back inside. At the time, Agents were wearing tactical gear with visible

FBI placards on the front and back. After waiting a reasonable amount of time, AGENTS

attempted to get in touch with CURRY on his cellular phone number via phone and text message.

Agents informed CURRY via text that they had a search warrant. CURRY stated that “You can

not come in here either.” Following the text messages, FBI Agents called CURRY on his cellular

phone. Agents told CURRY that they had a federal search warrant for his apartment and that he

should come out of his apartment. CURRY declined to come out and stated that if they (the FBI

Agents) had a search warrant, they (the FBI Agents) would have already come inside his

apartment. CURRY added that he “was going to sleep” and hung up the phone.

       39.    On January 24, 2024, at 12:25 PM EST, VICTIM’s outside counsel stated to the

FBI via email that the victim received following email messages from the SUBJECT EMAIL

ACCOUNT:
       Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 16 of 17




       Wednesday, January 24, 2024 11:54 AM: “If the police arrest me i will send this
       out”
       Wednesday, January 24, 2024 11:59 AM: “If you send the police inside we have
       a schedule to send going out send them away”
       Wednesday, January 24, 2024 12:14 PM: “If money is not in bitcoin within the
       next few we will be sending these slaries out to everyone.”

The email messages sent from the SUBJECT EMAIL ACCOUNT to the VICTIM occurred within

minutes of the FBI informing CURRY of the search warrant and requesting that CURRY exit his

apartment to have a conversation with the Special Agents.


                                       CONCLUSION


       40.    Based on all of the foregoing evidence, and based on my training and experience, I

respectfully submit that there is probable cause to believe that, between December 11, 2023 and

January 24, 2024, CAMERON CURRY, also known as Loot, has committed violations of 18

U.S.C. § 875(d) (Interstate Communications with Intent to Extort).
       Case 1:24-mj-00026-MAU Document 1-1 Filed 01/24/24 Page 17 of 17




       I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of Criminal


Procedure, permission to communicate information to the Court by telephone in connection with


this Criminal Complaint.


                                                    Respectfully submitted,



                                                    Mustafa Kutlu
                                                    Special Agent
                                                    Federal Bureau of Investigation




       Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on January 24, 2024:


       ____________________________________
       MOXILA A. UPADHYAYA
       UNITED STATES MAGISTRATE JUDGE
